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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BULGARI, S.p.A.,
                                                         Case No. 18-cv-07787
                        Plaintiff,
                                                         Judge John Z. Lee
       v.
                                                         Magistrate Judge Jeffrey T. Gilbert
XIA WANG, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Bulgari,

S.p.A. (“Bulgari”) hereby dismisses this action with prejudice as to the following Defendant:

               Defendant Name                                        Line No.
             Ainifeel Official Store                                    91

Dated this 29th day of March 2019.           Respectfully submitted,

                                             /s/ Justin R. Gaudio
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